Case 1:17-cv-03146-JMS-DML Document 22 Filed 02/01/18 Page 1 of 1 PageID #: 97




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                      Indianapolis Division

JONATHAN R. BLAND,                    )
          Plaintiff,                  )
                                      )
      v.                              ) Cause No. 1:17-CV-03146-JMS-DML
                                      )
EXPERIAN INFORMATION SOLUTIONS, INC., )
and SHEFFIELD FINANCIAL CORPORATION, )
           Defendants.                )



                                    ORDER OF DISMISSAL

        Plaintiff, Jonathan R. Bland, by counsel, has moved this court to dismiss all Defendants

from this cause. The Court, being duly informed and finding said Motion made for good cause,

now GRANTS said Motion.

        IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED by this Court that

Plaintiff’s claims against Defendants are dismissed, with prejudice, each party to bear its own costs

and fees. This matter is now concluded in its entirety.




                 Date: 2/1/2018



Copies to counsel of
record electronically registered.
